              Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 1 of 11




                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION

                                                      :
 IN RE: SAMSUNG ELECTRONICS
 AMERICA, INC. CUSTOMER DATA                          :   MDL DOCKET NO. 3055
                                                      :
 SECURITY BREACH LITIGATION
                                                      :



           ROLLINS PLAINTIFFS’ RESPONSE TO THE MOTION TO TRANSFER
           RELATED CASES FOR CONSOLIDATED PRETRIAL PROCEEDINGS
                          PURSUANT TO 28 U.S.C. § 1407


           Plaintiff Joseph Rollins and Plaintiffs Alex Chandler and Seledia Serina (collectively

“Rollins Plaintiffs”) respectfully submit this response to Plaintiffs Naeem Seirafi’s and Shelby

Holtzclaw’s (“Seirafi Plaintiffs”) Motion to Transfer Related Cases for Consolidated Pretrial

Proceedings Pursuant to 28 U.S.C. § 1407 (ECF No. 1). Rollins Plaintiffs support centralization

of the Related Actions in the District of New Jersey before the Honorable William J. Martini.

                                         INTRODUCTION
           Defendant Samsung Electronics America, Inc. (“Samsung”), a global industry leader in

technology, announced on September 2, 2022, that cybercriminals had illegally accessed and

stolen confidential customer data from millions of Samsung customers’ accounts. This

announcement was made almost a month after Samsung stated it discovered the data breach.

           Rollins v. Samsung Electronics America, Inc., No. 2:22-cv-5767 (D.N.J.) and Chandler v.

Samsung Electronics America, Inc., No. 2:22-cv-06241 (D.N.J.), are two of eleven federal actions

that allege Samsung violated consumer protection laws by failing to protect customer data. Rollins

Plaintiffs agree with Seirafi Plaintiffs that centralization is appropriate pursuant to 28 U.S.C. §

1407 but seek transfer of the cases listed in the Schedule of Actions filed concurrently herewith

(collectively, “the Related Actions”), as well as any tag-along cases subsequently filed involving



                                                  1
932840.1
              Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 2 of 11




similar facts or claims, to the U.S. District Court for the District of New Jersey for coordinated or

consolidated proceedings.

           The District of New Jersey is the transferee district best suited to take on this multidistrict

litigation because Samsung is headquartered there, relevant documents and witnesses will be found

there, and it is where corporate decisions were ultimately made with regard to Samsung’s data

security systems, procedures and practices, and response to the data breach. While Samsung’s data

may have affected consumers throughout the country, it was caused by the actions of Samsung’s

employees who are located in the District of New Jersey. Thus, Rollins Plaintiffs respectfully

requests that this Panel grant their Motion and transfer and centralize all related actions to the

District of New Jersey. In the alternative, if New Jersey is not a viable candidate for transfer,

Rollins Plaintiffs support transfer to the Northern District of California.

                                   BACKGROUND OF THE LITIGATION

           The Related Actions arise from the same set of operative facts. All plaintiffs allege that

Defendant Samsung is a global leader in technology that produces a wide range of consumer and

industrial electronic products, including smartphones and televisions, as well as home appliances,

including refrigerators, stoves, and washer and dryers. Plaintiffs and other Samsung consumers

cannot access many of the features of their Samsung devices or access other device-related benefits

without first creating a “Samsung Account.” A Samsung Account requires consumers to provide

their sensitive personal data to Samsung, including, their names, dates of birth, postal addresses,

precise geolocation data, email addresses, phone numbers, the Samsung products they own, and

other information. Consumers also provide Samsung with their personal data when purchasing or

receiving Samsung’s devices and services.




                                                     2
932840.1
              Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 3 of 11




           On September 2, 2022, Samsung announced that cybercriminals had illegally accessed and

stolen confidential customer data from millions of Samsung customers’ accounts, including their

name, contact information and demographic information, date of birth, and product registration

information.1 Samsung claimed it had discovered this data breach “[o]n or around August 4, 2022”

after an “ongoing investigation.”2

           Plaintiffs also allege that this was not Samsung’s first data breach in 2022. Samsung

experienced another data breach in March 2022 that exposed internal company data, including the

source code related to its Galaxy smartphones, algorithms related to Samsung smartphone

biometric authentication, bootloader source code to bypass some of Samsung’s operating systems

controls, source code for Samsung’s activation servers, and full source for technology used for

authorizing and authenticating Samsung accounts. Because Samsung experienced this earlier data

breach, it should have been particularly aware of the vulnerability of its security systems.3

           The Related Actions all have common legal issues. Ten of the eleven Related Actions

allege that Samsung was negligent in its protection of confidential customer data and all eleven

allege Samsung violated consumer protection laws. Each Related Action generally seeks

certification of similar classes. And each Related Action seeks similar relief.

                                           ARGUMENT
           The Related Actions filed against Samsung all assert that Samsung was negligent in its

protection of confidential customer data and violated consumer protection laws. Coordination of

these Related Actions is necessary to avoid duplicate discovery, promote just and efficient conduct


1
  Samsung, Important Notice Regarding Customer Information,
https://www.samsung.com/us/support/securityresponsecenter/ (last accessed Oct. 26, 2022).
2
  Id.
3
  Vllad Savov & Heejin Kim, Samsung Says Hackers Breached Company Data, Galaxy Source
Code, BLOOMBERG, https://www.bloomberg.com/news/articles/2022-03-07/samsung-says-
hackers-breached-company-data-galaxy-source-code (last accessed Oct. 26, 2022).

                                                 3
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 4 of 11




of these cases, and prevent inconsistent rulings. Transfer to the District of New Jersey will bring

the Related Actions to a centralized court that is located in the same district as Samsung’s

headquarters.

I.         The Related Actions are Appropriate for Transfer and Coordination Pursuant to 28
           U.S.C. § 1407.

           Actions alleging common questions of fact may be transferred and consolidated or

coordinated pursuant to Section 1407, if transfer will facilitate the convenience of the parties and

witnesses and will promote the just and efficient conduct of the transferred cases. See 28 U.S.C. §

1407. Typically, the Panel considers four factors when determining whether to transfer a case

under Section 1407:

           1. the elimination of duplication in discovery;
           2. the avoidance of conflicting rules and schedules;
           3. the reduction of litigation cost; and
           4. the conservation of time and effort of the parties, attorneys, witnesses, and courts.

See Manual for Complex Litigation (Fourth) § 20.131 (2004) (citing In re Plumbing Fixture Cases,

298 F. Supp. 484 (J.P.M.L. 1968)). Each of these factors favors transfer and consolidation of the

cases filed against Samsung.

           A.      The Actions Concern One or More Common Question of Fact.

           Consolidation is appropriate if the Related Actions present common questions of fact. See

In re Sonic Corp. Customer Data Sec. Breach Litig., 276 F. Supp. 3d 1382, 1383 (J.P.M.L. 2017).

This Panel has found common questions of fact where the related actions arise from the same data

breach. See, e.g., In re T-Mobile Customer Data Sec. Breach Litig., 576 F. Supp. 3d 1373, 1375

(J.P.M.L. 2021) (finding “[c]ommon factual questions will include: T-Mobile’s data security

practices and whether those practices met industry standards; how the malfeasants obtained access



                                                      4
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 5 of 11




to T-Mobile’s system; the extent of the personal information affected by the breach; when T-

Mobile knew or should have known of the breach; and T-Mobile’s investigation into the breach”);

In re Marriott Int’l, Inc., 363 F. Supp. 3d 1372, 1374 (J.P.M.L. 2019) (“The factual overlap among

these actions is substantial, as they all arise from the same data breach, and they all allege that

Marriott failed to put in to place reasonable data protections.”).

           The Related Actions here all arise from the data breach Samsung announced on September

2, 2022. The Related Actions here all allege similar common law claims and consumer protection

act violations. And each Complaint generally seeks certification of similar classes. Thus, the

“common questions of fact” criterion is satisfied pursuant to Section 1407(a).

           B.      Duplicate Discovery Will Occur Without Transfer and Consolidation.

           Because the Related Actions arise from the same set of operative facts, the parties will

engage in duplicative discovery if the Related Actions are not transferred and consolidated. The

plaintiffs will need to depose the same persons and seek the same documents from Samsung.

Samsung will raise the same defenses, argue the same class certification and discovery objections,

seek the same protective orders, and assert the same privileges in each case. Accordingly,

consolidation of the Related Actions will permit the parties to coordinate their efforts in a single

proceeding, thereby promoting efficiency, preserving judicial resources, and minimizing the

overall expense for the parties and witnesses. See In re Marriott Int’l, Inc., 363 F. Supp. 3d at 1374

(“Centralization will eliminate duplicative discovery, prevent inconsistent pretrial rulings on class

certification and other issues, and conserve the resources of the parties, their counsel, and the

judiciary.”); In re Equifax, Inc., Customer Data Sec. Breach Litig., 289 F. Supp. 3d 1322, 1325

(J.P.M.L. 2017) (same). Thus, the “duplicative discovery” and “reduction of cost” criteria are

satisfied pursuant to Section 1407(a).



                                                  5
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 6 of 11




           C.      Consolidation and Transfer Will Prevent Conflicting Rulings.

           When evaluating if consolidation and transfer of related actions is appropriate, the Panel

considers possible inconsistent rulings on pretrial issues because of potential res judicata or

collateral estoppel effects on other cases. See In re Enron Sec. Derivative & ERISA Litig., 196 F.

Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting a transfer and consolidation in part to avoid

conflicting pretrial rulings, particularly with respect to questions of class certification); In re Piper

Aircraft Distrib. Sys. Antitrust Litig., 405 F. Supp. 1402, 1403-04 (J.P.M.L. 1975) (“[M]atters

concerning class certification should be included in the coordinated or consolidated pretrial

proceedings in order to prevent inconsistent rulings and promote judicial efficiency”). Because the

factual and legal allegations are substantially similar in each of the Related Actions, there is a

greater possibility of conflicting pretrial rulings. In addition, because the allegations are similar,

Samsung will assert the same defenses in opposition to the plaintiffs’ claims, creating another risk

for inconsistent rulings. Accordingly, transfer and consolidation of the Related Actions is

appropriate.

II.        The District of New Jersey is the Appropriate Transferee Forum.

           Rollins Plaintiffs respectfully submit that the Panel should consolidate these cases in the

  District of New Jersey. The selection of an appropriate transferee forum depends greatly on the

  specific facts and circumstances of the litigation being considered for coordination and involves

  a “balancing test based on the nuances of a particular litigation,” that considers several factors.

  See Robert A. Cahn, A Look at The Judicial Panel on Multidistrict Litigation, 72 F.R.D. 211,

  214 (1977). Among the factors to be assessed are the nexus between the case and the proposed

  transferee district, including (1) the location of the parties, witnesses and documents; (2) the

  respective caseloads of the proposed transferee district courts; (3) the accessibility of the



                                                    6
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 7 of 11




  proposed transferee district to parties and witnesses; and (4) the familiarity and expertise of the

  transferee district with the underlying issues present in the litigation. See In re Horizon Organic

  Milk Plus DHA Omega-3 Mktg. and Sales Practices Litig., 844 F. Supp. 2d 1380, 1380 (J.P.M.L.

  2012); In re Cardiac Devices Qui Tam Litig., 254 F. Supp. 2d 1370, 1373 (J.P.M.L. 2003). These

  factors indicate that the District of New Jersey is the appropriate transferee venue for the

  centralization of the Related Actions.

           A.      The District of New Jersey Best Serves the Convenience of the Parties and
                   Witnesses.

           Transfer of all Related Actions to the District of New Jersey best serves the convenience of the

parties and witnesses because Samsung is headquartered there, and it is the location where discovery

related to the consumer protection violations is likely to be. See In re Capital One Customer Data Sec.

Breach Litig., 396 F. Supp. 3d 1364, 1364 (J.P.M.L. 2019) (transferring related data breach action to

District of Virginia because defendant Capital One was headquartered within the district and had

relevant witnesses and documents there); In re Equifax, Inc., Customer Data Sec. Breach Litig., 289 F.

Supp. 3d 1322, 1326 (J.P.M.L. 2017) (transferring related data breach action to the Northern District

of Georgia because “Equifax is headquartered in that district, and relevant documents and witnesses

thus likely will be found there”).

           Seirafi Plaintiffs argue that Samsung’s “decision making processes affecting data and privacy

stem from its San Francisco offices” based on the LinkedIn page of a single Samsung employee that

states the employee works in “Big Data” out of the San Francisco office. But “Big Data” at Samsung

does not involve data security or privacy, and the Seirafi Plaintiffs offer no factual support for the

assertion that it does. Samsung states on its website the following under the tagline “What is Big Data?”:

           Data is no longer limited to organized information stored in columns and rows. As
           digital devices become more embedded in our daily lives, the volume and types of data
           available are growing at an exponential pace. With the development of advanced


                                                      7
932840.1
              Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 8 of 11




           analytics, computers can now automatically spot patterns in new data sources. From
           audio and visual recordings to sensory information, almost anything can be turned into
           data. In the era of big data, creating efficient solutions to store, organize and analyze
           these complex information holds the key to uncovering meaningful trends and
           predictions.[4]

Based on this description, it appears that “Big Data” is a form of data analytics, which is not at issue

here. Accordingly, it is doubtful that relevant witnesses or discovery that could speak to Samsung’s

data security or privacy practices would be located in San Francisco.

           The District of New Jersey, on the other hand, appears to be where Samsung’s decisions related

to data security and privacy are made. The September 2, 2022 data breach announcement provided

Samsung’s address as “85 Challenger Road, Ridgefield Park, NJ 07660.” Samsung also advertises

Security Analyst positions for its Ridgefield Park, New Jersey headquarters.5 The position involves

“security monitoring and control, and efficient ways to respond to security breach incidents.”6

           Further, Newark, New Jersey is easily accessible for all parties. All plaintiffs in the Related

Actions can access Newark, New Jersey through the Newark Liberty Airport, which serves Delta,

American, United, and Jet Blue airlines, as well as over 29 million passengers annually as of 2021.7

See In re Sonic Corp. Customer Data Sec. Breach Litig., 276 F. Supp. 3d 1382, 1383 (J.P.M.L.

2017) (transferring action to the Northern District of Ohio, in part, because the location is “easily

accessible”). Samsung would also have easy access to Newark. Its headquarters is located less than a



4
 See Samsung, Digital revolution and big data,
https://semiconductor.samsung.com/insights/topic/big-data/ (last accessed Oct. 26, 2022).
5
 Info-Sec, https://infosec-jobs.com/job/17030-security-
analyst/?utm_campaign=google_jobs_apply&utm_source=google_jobs_apply&utm_medium=or
ganic (last accessed Oct. 26, 2022).
6
    Id.
7
 See Port Authority of NY NJ, Data & Statistics, Airport Traffic Statistics,
https://www.panynj.gov/airports/en/statistics-general-info.html (last accessed Oct. 26, 2022).

                                                      8
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 9 of 11




30-minute drive from the Martin Luther King Building & U.S. Courthouse of the District of New

Jersey. Accordingly, for these reasons, the Panel should find the District of New Jersey is the

appropriate transferee forum.

           B.      The District of New Jersey is Better Positioned to Efficiently Adjudicate the
                   Consolidated Actions.

           The District of New Jersey has the resources and capacity that the coordinated docket will

require. The Panel’s October 14, 2022 Pending MDL Report shows that there are currently eleven

MDLs pending within the District of New Jersey, while the Northern District of California, Seirafi

Plaintiffs’ proposed transferee venue, has eighteen pending MDLs.8 Accordingly, the District of New

Jersey is the more appropriate transferee forum because it will not disproportionately bear the burden

of an assignment. See In re Bard IVC Filters Prods. Liab. Litig., 122 F. Supp. 3d 1375, 1377

(J.P.M.L. 2015) (transferring MDL to the District of Arizona, in part, because it “is not burdened

by many MDLs”).

           The District of New Jersey also has seasoned jurists that can steer this litigation. Judge

William J. Martini, to whom all Related Actions filed in New Jersey are assigned, is an experienced

and capable jurist who has handled MDLs in the past. See, e.g., In re: Tropicana Orange Juice

Marketing & Sales Practices Litig., 2:11-cv-07382; In re: Morgan Stanley Smith Barney LLC

Wage and Hour Employment Practices Litig., 2:11-cv-3121. Judge Martini also has a greater

capacity to devote time and effort to a consolidated matter as he currently has not been assigned any

MDLs.

           The Seirafi Plaintiffs, on the other hand, have proposed the Honorable Jacquelyn Scott Corley

to take on this MDL. While Judge Corley is a well-respected and capable jurist, she is already handling




8
    See https://www.jpml.uscourts.gov/pending-mdls-0 (last accessed Mar. 22, 2022).

                                                    9
932840.1
                Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 10 of 11




an MDL that is still in the Motion to Dismiss phase. See In Re: Qualcomm Antitrust Litig., 3:17-md-

02773-JSC (N.D. Cal.). Thus, it is likely this MDL will consume judicial resources for years to

come. For these reasons, the Panel should find that the District of New Jersey has the capacity and

the specific judicial resources that this docket will require and is well positioned to accept transfer

of the actions.

           C.      The Related Actions Should Not Be Transferred to the Northern District of
                   California Solely Because the First-Filed Case is Located There.

           Seirafi Plaintiffs also argue the Related Actions should be transferred to Northern District

of California because the earliest-filed still active case is located there.9 But all the Related Actions

have been filed in the last two months and none have progressed substantially in discovery.

Because these cases are roughly on the same track, and no one case is more procedurally advanced

than the others, the fact that a case was filed in one location a few weeks before another is

immaterial and does not weigh in favor of transfer to the Northern District of California, a forum

that is not home to Samsung.

           Nevertheless, should this Panel believe that New Jersey is not an appropriate jurisdiction

for transfer, Rollins Plaintiffs agree that the Northern District of California is suitable as an

alternative.




9
 The Seirafi Plaintiffs’ case was not the first to be filed against this defendant in relation to the
data breach. The first case was filed in the United States District Court for the District of Nevada
on September 6, 2022, but was thereafter voluntarily dismissed. See Harmer v. Samsung
Electronics America, Inc., 2:22CV01437, ECF #1 (Complaint filed) and #7 (Notice of Voluntary
Dismissal).

                                                   10
932840.1
             Case NJ/2:22-cv-05767 Document 8 Filed 10/26/22 Page 11 of 11




                                           CONCLUSION

           For the reasons set forth herein, Rollins Plaintiffs respectfully request that the Panel

centralize the Related Actions pursuant to Section 1407 and transfer all Related Actions to the

District of New Jersey for coordinated pretrial proceedings.

                                     LITE DEPALMA GREENBERG & AFANADOR, LLC
 Dated: October 26, 2022
                                     /s/ Catherine B. Derenze
                                     Joseph J. DePalma
                                     Catherine B. Derenze
                                     570 Broad Street, Suite 1201
                                     Newark, NJ 07102
                                     Telephone: 973-623-3000
                                     jdepalma@litedepalma.com
                                     cderenze@litedepalma.com

                                     HAUSFELD LLP
                                     James Pizzirusso
                                     888 16th Street, Suite 300
                                     Washington, DC 20006
                                     Telephone: (202) 540-7200
                                     jpizzirusso@hausfeld.com

                                     HAUSFELD LLP
                                     Steven Nathan
                                     33 Whitehall Street, 14th Floor
                                     New York, NY 10004
                                     Telephone: (646) 357-1100
                                     snathan@hausfeld.com

                                     DICELLO LEVITT LLC
                                     Amy Keller
                                     James A. Ulwick
                                     Ten North Dearborn Street, Sixth Floor
                                     Chicago, Illinois 60602
                                     Telephone: (312) 214-7900
                                     akeller@dicellolevitt.com
                                     julwick@dicellolevitt.com
                                     Counsel for Plaintiffs and the
                                     Putative Class and Subclasses




                                                  11
932840.1
